                      Case 6:21-cv-00474-AA                     Document 50-15            Filed 08/06/21     Page 1 of 11


        I
        i•
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        i




                                               ASSURANCE OF COMPLIANCE WITH TITLE IX OF THE
    f                                             EDUCATION AMENDMENTS OF 1972 AND THE
    '                                             REGULATION ISSUED BY THE DEPARTMENT OF
'                                                    HEALTH, EDUCATION. AND WELFARE IN
                                                          IMPLEMENTATION  THEREOF

               f PLEASE RE.-\D EXPL.-\:\"ATIO'.\i OF HEW FOR~f                            639 BEFORE COMPLETING          THIS   DOCV-
               ~fE:\"Tl

                 Pursuant       to 4-5 C.F.R. ~86.4,        _______YORK       COLLEGE
                                                                     ..._:__;....;__...;;;..;;-==-=:....::.=----------------
                                                                   ( insert name of Applicant or Recipient)
               ________             (hereinafter the "Applicant"')    gi,·es this assurance in consideration    of and for the
               purpose of obtaining Federal education grants, loans, contracts ( except contracts of insurance or guaranty),
               property, discounts. or other Federal financial assistance to e~ucation programs or acti,·ities from the
               Department    of Health. Education, and Welfare ( hereinafter the "Department"),          including payments or
               other assistance hereafter recei,·ed pursuant to applications appro,·ed prior to the date of this assurance.

                                 ARTICLE             I-TYPE       OF   I'.'iSTITCTIO:\"     SC1t\1ITTL:•~G   ASSURANCE

                 The Applicant            i;   I check   the -following boxes where   applicable):
                 [     ]    A state education
                                           agency.
                 [ J .-\ local education    agency.
                 I_ I .-\ publicly controlled educational institution or organi%ation.
                 lxx1 A pri,·ateiy controlled educational institution or organization.
                 [ ] A person. organintion,      group or other entity not primarih· engaged in education. If this box is
                      checked. insert primary purpose or actiYity of Applicant in the space prO\·ided below:




                 !XXJClaiming           a religious cxeu1ption under 45 C.F.R. ~86. ! 2(b). ( If religious exemption is claimed,
                            attach     statement by highest ranking official oi Applicant identifying the specific pro,·isions of
                            4-5 C.F.R. Pan 86 which conflict with a specific religious tenet of the controlling religious
                            organization.)

                 The       Applicant      offers one or more of the following programs or activities ( check where applicable)        :

                 l ]        Pre-school                                   ~Xl L nderi!raduate (including JlllllOr and
                 [     J    Kindergarten                                        COllllll \I nit\' colleges)
                 [     ]    Elementary or Secondar;·                     [ J Vocational or Technical
                 lr    ]    Graduate                                     [ J Prof cssiona l
                 L     J    Other , such as special programs for the handicapped          c,·en if proYi<led on the pre-school,
                            eiementary or secondary le\·el). If this box 1S checked, gi,·e brief description below:

               HE\\'-639        ,_i/i6\




                                                                                 1
             EXHIBIT P                                                                                                            1
              Case 6:21-cv-00474-AA                 Document 50-15           Filed 08/06/21        Page 2 of 11




    ARTICLE       II-PERIOD        OF ASSCRA::'xCE

   This assurance shall obligate the Applicant       for the period clu1·ing which Federal financial assistance 1s
extended to it by the Departrnem.

   ARTICLE     III-TERMS         AND CONDITIO:\'S

  The Applicant    hereby agrees that it will:

   1. Comply, to the extent applicable to it, with Title IX of the Education Alllendrncnts of 1972 ( P.L.
92-3 I 8), as amended, 20 C.S.C. ~ I 68 I. I 682, 168'.1. and l 6H5 r hereinafter. "Title IX" J. and all
applicable requirements imposed by or pursuant 10 the Depart111cnt's regulation issued pursuant to
Title IX, -15 C.F.R. Pan 86 ( hereinafter. ,. Part 86"), to the end that. in accordance with Title IX
and Part 86, no person in the C nited States shall, on the basis of sex, be excluded from participation in.
be denied the benefits of, or be otherwise subjected to discri1nination under any education prngTam or
acti\·ity for which the Applicant recei\·es or benefits from Federal financial assistance fro111the Deparnnent.
(This assurance docs not apply to sections 90+ (proscribing denial of adrnission to course of study on the
basis of blindness) and 906 (amending other laws) of Title IX. 20 C.S.C. 168-~ and 1686.)

   2. Require any person. organization, group or other entity to which it subgrants or \1·ith which it
contracts, subcontracts or otherwise arranges to pro1·ide sen-ices or benefits or to assist it in the conduct
of any program cO\·ered by this assurance. or with which it contracts or otherwise arranges for the use
of an~· facility co\·cred by this assurance, to comply fully with Title IX and Part 86 and to submit to the
Department an assurance satisfactory to the Director. Office for Ci\·il Rights ( hereinafter_. the ·•Director·').
to that effect.


   3. :,_,fake no transfer or other com·eyance of title to any real or personal property which was
purchased or i111pro\·ed with the aid of Fedeml financial assistance co\'ercd by this assurance, and
which is to continue to be used for an education progran1 or acti\·ity and where the Federal share of
the fair market \'alue of such property has not been ref1111dedor otherwise properly accounted for to the
Federal gO\·errnnent, without securing fro111 the transferee an assurance of compliance with Title IX and
Part 86 satisfactory to the Director and submitting such assurance to the Department.

  +. Submit a revised         assurance   within   30 da\'S after   am· info1111ation contained   in this assurance
becomes inaccurate.

  5. If the Applicant is a state education agency_. submit reports in a manner prescribed by the
Director under +5 C.F.R. ~80.6(6) as to the compliance with Title IX and Part 86 of rocal education
agencies or other education progran1s or acti\'ities within its jurisdiction.




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      EXHIBIT P                                                                                                       2
          Case 6:21-cv-00474-AA                         Document 50-15        Filed 08/06/21             Page 3 of 11



_,,J.

 ....      • ARTICLE IV-,DESIG:\'ATIO'.\T OF                   RESPO::\SIBLE     E,vfPLOYEE .-\ND ADOPTION                  OF
                 GRIEVANCE PROCEDURES

          ( Check the appropriate             box.)

       [X ] Pursuant to 45 C.F.R. ~86.8, the Applicant has adopted griernnce procedures and designated the
    following employee to coordinate its efforts to co111plywith Part 86 and has notified all of its students and
    employees of these grie\'ance procedures and the following name, address, and telephone number of the
  designated         employee:                                    Dr.    t•iabrt!y    L.      Miller
                                                                                        ( name oi employee)
                                                                  York College,               York,        NE       68467
                                                                                             ( office address)
                                                                  402-362-4441
                                                                                           ( telephone    number)

       [     The Applicant is not presently rece1,·111gFederal financial assistance subject to Part 86 and,
    consequently, has not designated a responsible employee or adopted grie,·ance procedures pursuant to
    -1-5C.F.R. ~86.8 but will do so immediately upon award oi such assistance and will immediately notify
    the Director, its students and employees of the name. office address, and telephone number oi the
    employee so designated.

                 ARTICLE           V-SELF-EVALCATIO:'\

          (Check          the appropriate     box.)
           [ ] The Applicanc has completed a sclf-e,·aluation as required by +5 C.F.R. §86.3(c) and has not
        found it necessary to 111odify any of its policies and practices or 10 take any remedial steps to come into
        compliance with Part 86.
           [x]    The Applicant has completed a self-e,·aluation as required b)· .J.5 C.lfR. :i86.3(c) and has ceased
        to carry out any policies and practices which do not or may not 111eetthe requirements of Part 86 and
        is taking any nece~sary re111edi:i.lsteps to eliminate the effects of an:· discrimination which resulted or
        may ha,·e resulted irolll adherence to such policies and practices.
           [ J The Applicant has not completed the self-e,·alu:nion required by .J.5 C.F.R. ~86.3 ( c) but expects
        to ha,·e it completed by
                                        \insert date)
           [ ] The Applicant is not required to conduct a self-ernluation under .J.5 C.F.R. ~86.3 ( c) since it did
        not rcce1\'e any Fc;deral financial assistance to which l':i.rt 86 applies prior to July 21, 1976.
                                                                             York College
        Date:       September               29,       1976
                                                                        By

                                                                         (This document must be ~fgned by an official
                                                                          legally authorize~  contractually bind
                                                                          the Applicant.)/
                                                                                                             ~Y--
                                                                                 ( Insert title of authorii:ed official.)




         GPO    906•517                                             3


EXHIBIT P                                                                                                                    3
     Case 6:21-cv-00474-AA    Document 50-15   Filed 08/06/21   Page 4 of 11




                                                                    f



                    REQUEST    FOR EXE!-1PTIO:~S    FROM

                                 TITLE IX




                              YORK COLLEGE

                             YORK,   m:::.aRASKA




                         September     29,   1976




EXHIBIT P                                                                      4
           Case 6:21-cv-00474-AA                           Document 50-15               Filed 08/06/21              Page 5 of 11




                                                   RELIGIOUS COMMITME!lT
          York     College                is     controlled              and operated                 by members•of
churches          of        Christ.              These         churches          believe         the        Bible         tJ' be the
only      inspired                revelation               from      God,      and that          it     is     God's          complete
and perfect                 revelation               to     human beings.                  The College                  claims            an
exemption          from             the     requirements                 of Title          IX of        the        Education

Amendments              of        1972      on a limited                 number         of points             on which              it

understands                 the      requirements                   of   Title      IX and            the     teaching              and

requirements                 of      the        Bible       to      be in      conflict.               These        points

relate       to        (1)        the     role       of women and men in                        the     church;               (2)        differ-
ences      in     the        nature             and appearance                 of men and women;                          (3)modesty;
(4)      sexual         morality;                 and      (5) marriage,                divorce,             and    remarriage.

          In the            first          college          catalog          printed,           1956-57,            'by     the
current         sponsoring                     religious            group,        the    philosophy                of      the      College
was explained                     by giving             the        following         quotation               from       the       late

Dr.      William            L.      Phelps         of      Columbia          University:

                  Everyone      who has a thorough          knowledge    of the
          Bible may be called           educated,       and no other     learning
          or culture,        no matter     how exclusive        or elegant,      among
          Europeans       or Americans,       can take its place.            Western
          civilization        is founded      upon the Bible.         Our ideas,
          our wisdom,·our         philosophy,        our literature,        our art
          and ideals        come more from the Bible            than from all
          other     books put together         ••• I    thoroughly    believe     in
          a university        education      for both men and women; but
          I believe       a knowledge      of the Bible without           a college
          education       is more valuable         than a college       course
          without      the Bible.
The intent              of equal                opportunity              for      education             for    both           men and

women was present                          from      the       beginning           of     the    College.                  The College

continues              to     be committed                    to    equal        educational                and employment
opportunities                     for      men and women.



  EXHIBIT P                                                                                                                                        5
               Case 6:21-cv-00474-AA                                 Document 50-15                    Filed 08/06/21              Page 6 of 11
                                                                                                                                                                      2


                York         College                has       made            a diligent              effort          to    request           an

    exemption                from           the         Title           IX regulations                     in    each       of      those        areas

    in    which         it         appears               there           is      a conflict.                    However,            York      College

    reserves            the            right            to      reexamine               the     effects           of       Title       IX on the

    institution                    and         to       request               other      exemptions               should            thete        prove                              j
                                                                                                                                                                                ·' -
    to    be any             conflict.


                                                    SPECIFIC               EXEMPTIONS REQUESTED

                                                       Access            to      Course         Offerings--·
~   Department                of        Christian                    Education

                In    the          Division                  of      Bible        and         Related           Subjects            there        are        two

    courses            designed                   for        men.             They      are     Christian               Education             102

    (Song        Directing)                     and          Christian                Education             123        (Homiletics).                    These

    courses            are         designed                  for        the      men who will                   be preachers                and        leaders
                                                                                                                                                                                J
    in    the        public             worship                 of      the      church.              It    is    one       of·our          religious

    tenets           that          women should                         not.serve              in     leadership·             roles         in     public

    worship            (I     Corinthians                          14:34,         I Timothy                2:11-12).                Therefore,

    it    is     not         planned                that          women should                  enroll           in     Christian             Education                   102

    (Song        Directing)                       or      Christian               Education                123        (Homiletics).                 An

    exemption                is        requested                   in    these          courses.


    Department                of        Physical                   Education

                In     the         Department                      of    Physical              Education,               the        majority            of    the

    courses            are         taught               on a coeducational                            basis.            Swimming            courses

    and        PE 201             (Conditioning                         Exercises)               are       separated               by sex        because

    we believe                    in     high           standards                of     modesty            in    apparel             (I Timothy              2:9).

    An exemption                       is      requested                 in      this         area.




    EXHIBIT P                                                                                                                                                     6
                   Case 6:21-cv-00474-AA                                 Document 50-15                    Filed 08/06/21                  Page 7 of 11                     3


                                                Leadership                in        Religious              Activities

                It        is      one           of     our      religious                  tenets          that          women should                      not

      serve          in        leadership                   roles         in        religious              worship              where           men are

      present             (I         Corinthians                    14:34,           I Timothy                2:11,12).                    Therefore,

      women are                 not         invited             to       take        leadership                 roles           during            Jriods

      of     worship.                  An exemption                       is        requested              in      the        area         of     worship

      activities                     such         as      worship           in       assembly              and          campus         devotionals.


                                                                Campus              Organizations

...             It        is      one           of     our      tenets              that      women should                      not        serve           as

      preachers                  (I        Corinthians                   14:34,            I Timothy               2:11,12).                     Therefore,

      we request                     the        exemptive                right_        to     form         clubs          such         as        a preacher's

      club      or        women's                 training               class         which         would              be directed                   toward

      teaching                 the         Biblical             functi"on              of     people            of       that         sex •


                                                                                Athletics                 ~
                                                                                                              ,'' .\\
                                                                                                                   :'
                                                                                                                .....



                Differences                          in      athletic               attire          for       men and            women are                   based

      upon      a dress                    code        in     keeping               with      our         philos9phy                  of    modesty

      (I     Corinthians                        11:14,          I Timothy                  2:9).

                York            College                has      an intramural                       program              designed                to     meet

      the     needs             of         both        women and                men,         which         we feel              is     open           to     people

      of     each         sex         in        a very          balanced               way.           The       intercollegiate                             area      may

      be more             of         a problem.                   An attempt                  to      meet         the        interests                 of

      students                 with         a limited                budget            is     complicated                     by an inability                         to

      control             the         dress            code         of    visiting                 teams.               The     College                requests

      an exemption                         in     this        area        in        order          that       the        Board         of        the        College

      and     its         administrative                            officers               may be          free          to     review            the        results

      of     the      intercollegiate                               program            and         a possible                 need         for         curtailment

      because             of         a violation                    of    our         fundamental                   belief            in        the        teaching

      of     the      Bible                as     it      relates              to    modesty.


       EXHIBIT P                                                                                                                                                           7
             Case 6:21-cv-00474-AA                           Document 50-15                      Filed 08/06/21               Page 8 of 11                        4


                                                       Rules            and Policies

             Student          regulations                    at    York         College            involve             a dress                 code

in      keeping        with          our      philosophy                   of    modesty.                An exemption                          is

requested             in      this         area.             The differences                       in    rules          concerning

appearance              are        based          on Biblical                   principles               of modesty                  frCorinth-
ians         11:14,         I Timothy               2:9).


                                                                  Employment
Bible         Teachers

          York        College           requests                  an exemption                   in     the      hiring             of         faculty

members          to    teach          in      the       Department                   of     Bible.             It      is     one        of         our

religious             tenets          that         women should                      not     publicly                teach          Bible

classes         which          include             adult           males          {I Timothy                  2:11,12).

Employment             Applications

          York        College           requests                  an exemption                   in     the         request          for            infor-

mation         concerning              marriage                   status         in       job      applications.                          It        is    one

of     our     religious              tenets            that            Christian            persons                should          not         divorce

their         mates        except           for        the        cause         of     adultery               {Matthew              19:6-9).


Ernoloyment            Assistance

          York        Colle~e           staff           members             do not           recommend                 females                 for
preaching             positions               because              it      is    one        of     our        tenets          that         women

should         not     serve          as      preachers                   {I Corinthians                      14:34,          I Timothy                   2:11,12).


                                                              Scholarships

          Money is             willed             and        donated            with        the       specific               statement                   that

it     be used          for        scholarships                    for      ministerial                  students.                   An exemption
is      requested             in     the      administration                         of     scholarship                     funds         for        preacher

students.              It      is     one         of    our        tenets            that        women should                  not             serve         as

preachers              {I Corinthians                        14:34,         I Timothy                 2:11,12).


     EXHIBIT P                                                                                                                                                    8
     Case 6:21-cv-00474-AA      Document 50-15            Filed 08/06/21         Page 9 of 11

                   UNITED ST ATES DEPARTMENT OF EDUCATION
                 OFF!'.::E OF THE ASSISTANT   SECRETARY     FOH ClVlL   RlGHTS




                                                                                      •


Dr. Gary R. Bartholomew
                                                                                     f
President
York College
York, Nebraska 68467
Dear Dr. Bartholomew:
The Office for Civil Rights of the Department of Education (OCR/ED)is in
the process of clearing a backlog of requests for religious exemption from
the regulation implementing Title IX of the Education Amendmentsof 1972,
34 C.F.R. Part 106 (formerly 45 C.F.R. Part 86). Our records indicate that
York College (College) filed such a request, but there is no record that
OCRadequately acknowledged this re_quest.
Wehave recently reviewed the request filed by former President Larsen
(copy enclosed) in which he described several policies practiced at the
College as consistent with the tenets of the religious organization that
controls the institution.   These policies would violate certain sections
of the regulation implementing Title IX (copy enclosed) absent a religious
exemption. Former President Larsen supplied information in his request
letter that establishe"s that the institution is controlled by a religious
organization and that tenets followed by this organization conflict with
specific sections of the Title IX regulation.   Therefore, I am granting
York College an exemption to those sections of the Title IX regulation
appropriate to the College's request. The exemption is limited to the
extent that compliance with the Title IX regulation conflicts with the
religious tenets followed by the institution.   The College is hereby
exempted from the requirements of the following sections of the Title IX
regulation:   34 C.F.R. §§ 106.31(a), 106.34, 106.37(a), 106.38, 106.41,
106.51, 106.53, 106.55(a) and 106.60(a). The basis for our decision to
grant this exemption is discussed in further detail below.
The letter from the College indicates that it is controlled by members
of churches of Christ. The churches of Christ and the College practice
certain tenets relating to: (1) the role of men and womenin the church;
(2) differences in the nature and appearance of men and women; (3) modesty;
(4) sexual morality; and (5) marriage, divorce and remarriage. This
relationship between the churches of Christ and the College adequately
establishes that the College is controlled by a religious organization as
is required for consideration for exemption under§ 106.12 of the Title IX
regulation.




EXHIBIT P                                                                                       9
     Case 6:21-cv-00474-AA   Document 50-15   Filed 08/06/21   Page 10 of 11
Page 2 - Dr. Gary R. Bartholomew

The College's statement lists several practices applied to students and
faculty related to moral behlvior, modesty, and spiritual leadership.
These practices sometimes result in a differentiation    of roles of each
sex. Thus:
                                                                      •
    1. The College limits certain courses and activities on the basis of
        sex. Specifically, the institution excludes womenfrom cfristian
        Education 102 (Song Directing) and Christian Education 12~
         (Homiletics); separates men and womenin swimmingcourses; limits
        leadership roles during periods of worship to men; and requests
        the right to offer clubs such as preacher's club or women's training
        class for males and females respectively.     The above practices are
        based on Biblical tenets that womenshould not serve as preachers
        or in leadership roles in public worship where men are present,
        and because the churches of Christ believe in high standards of
        modesty in apparel. Based on these principles and practices, the
        College has requested and is granted by this letter, exemption to
        § 106.3l(a), education programs and activities,    and§ 106.34, access
        to course offerings.
    2.   The College administers scholarship funds for ministerial students
         which are intended for males only based on the tenet that women
         should not serve as preachers. Based on this principle, the
         College has requested and is granted by this letter, exemption to
         § 106.37(a), financial assistance.
    3.   The College does not recommendfemales for preaching positions
         because it is bne of its tenets that womenshould not serve as
         preachers. Based on this principle, the College has requested
         and is granted by this letter, exemption to§ 106.38, employment
         assistance to students.
    4.   The College maintains specific requirements regarding apparel for
         intercollegiate   athletics teams based upon its philosophy and
         Biblical beliefs regarding modesty. Based on this principle, the
         College has requested and is granted by this letter, exemption to
         § 106.41, athletics, as it relates to the above-stated principle
         regarding athletic attire.
    5.   The College does not hire womento teach in the Department of the
         Bible. This is based on the religious tenet that womenshould not
         publicly teach Bible classes which include adult males. Based on
         this principle, the College has requested and is granted by this
         letter, exemption to§§ 106.51, 106.53 and 106.55(a), employment,
         recruitment for employmentand job classification  and structure.
    6.   The College follows the religious tenet that Christian persons
         should not divorce their mates except for the cause of adultery,
         and wishes to request the marital status of applicants for
         employment. Based on this principle, the College has requested
         and is granted by this letter, exemption to§ 106.60(a), pre-
         employment inquiries of marital status.




EXHIBIT P                                                                        10
      Case 6:21-cv-00474-AA   Document 50-15   Filed 08/06/21   Page 11 of 11
Page 3 - Dr. Gary R. Bartholomew

The College also requested exemption for dress codes in keeping with the
philosophy of modesty. Section 106.31(b)(5) regarding appearance codes
was rescinded from the Title IX regulation in 1982. Thus, an exemption
for appearance codes is unnecessary.
                                                                    •
This letter should not be construed to grant exemption from any section of
the Title IX regulation not specifically mentioned. In the eventfthat OCR
receives a complaint against the institution,   we are obligated to determine
initially whether the allegations fall within the exemption herein granted.
Also, in the unlikely event that a complainant alleges that the practices
followed by the institution are not based on the religious tenets of the
controlling organization, OCRis obligated to contact the controlling
organization to verify those tenets.    If the organization provides an
interpretation of tenets that has a different practical impact than that
described by the institution,  or if the organization denies that it controls
the institution,  this exemption will be rescinded.
I hope this letter responds fully to the College's request. I regret the
inordinate delay in responding to the original request. If you have any
questions, please do not hesitate to contact the Kansas City Regional Office
for Civil Rights. The address is:
                   Jesse L. High
                   Regional Civil Rights Director
                   Office for Civil Rights, Region VII
                   Department of Education
                   324 East 11th Street, 24th Floor
                   Kan~as City, Missouri 64106
                                       Sincerely,
                                          \ ~
                                       titlnJ·   ,•
                                             iWr111A.
                                       Va:~.~~
                                       Assistant Secretary
                                         for Civil Rights
Enclosures
cc:   Jesse L. High, Regional Civil Rights Director,   Region VII




EXHIBIT P                                                                       11
